                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


JOHN DOE,                                      )
     Plaintiff                                 )
                                               )
v.                                             )      Case No. 1:18-cv-00084
                                               )      Judge Richardson /Frensley
DAVID BYRD, ET AL.                             )
     Defendants.                               )


                                            ORDER

       Pending before the Court is the Defendant David Byrd’s Motion to Appoint a Guardian Ad

Litem under Federal Rules of Civil Procedure 17. Docket No. 25. Defendant has filed a Supporting

Memorandum of Law indicating that an appointment of a guardian ad litem is appropriate as the

Plaintiff, John Doe, as a minor lacks the capacity to bring suit in his individual capacity and

therefore the appointment of a guardian ad litem is appropriate to protect the interest of the minor.

Docket No. 26. Plaintiff has filed a Response indicating that since the filing of this action, Doe has

obtained the age of majority and now has the capacity to maintain the suit without a guardian ad

litem. Docket No. 34. Plaintiff has filed an Amended Complaint alleging he is no longer a minor.

Docket No. 33, ¶ 7. In light of the foregoing, “Defendant Byrd agrees that the appointment of a

guardian ad litem is no longer appropriate because Doe has attained the age of majority.” Docket

No. 37, p. 2.

       For these reason, Defendant’s Motion to Appoint a Guardian Ad Litem (Docket No. 25) is

DENIED.




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  IT IS SO ORDERED.


                                      ________________________________
                                      JEFFERY S. FRENSLEY
                                      United States Magistrate Judge




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